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             EXHIBIT A
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                   UNITED STATES DISTRICT COURT

                  NORTHERN DISTRICT OF CALIFORNIA

Before The Honorable William H. Orrick, Judge

DEMETRIC DI-AZ, et al.,            )
                                   )
            Plaintiffs,            )
                                   )
 VS.                               )     NO. C 17-06748 WHO
                                   )
TESLA, INC., et al.,               )
                                   )
            Defendants.            )
                                   )

                              San Francisco, California
                              Tuesday, July 12, 2022

            TRANSCRIPT OF VIDECONFERENCE PROCEEDINGS

APPEARANCES:   (via videoconference)

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         (APPEARANCES CONTINUED ON THE FOLLOWING PAGE)


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               United States District Court - Official Reporter
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1    APPEARANCES:   (via videoconference, continued)

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1    Tuesday - July 12, 2022                                 1:58 p.m.

2                            P R O C E E D I N G S

3                                  ---000---

4              THE CLERK:    We will begin today with case number

5    17-6748, Di-az versus Tesla, Incorporated.

6         Counsel, if you would please, state your appearance for

7    the record.

8              MR. ALEXANDER:    Bernard Alexander on behalf of the

9    Plaintiff.

10             MR. POSNER:    This is Dan Posner on behalf of the

11   Defendant, Tesla.

12             MS. SULLIVAN:    Good afternoon, Your Honor, Kathleen

13   Sullivan on behalf of the Defendant, Tesla.        And, Your Honor,

14   we would like to introduce our partner Asher Griffin, whose pro

15   hac you just granted.     He is also part of our Tesla team.

16             MR. GRIFFIN:    As Ms. Sullivan said, Asher Griffin on

17   behalf of Defendant Tesla.

18             MR. ORGAN:    Larry Organ on behalf of the Plaintiff,

19   Your Honor.

20             THE COURT:    Good afternoon to everybody.      Welcome

21   back.   And so the business of today is to set a trial date and

22   the -- I have three ideas for you.

23        I have -- I would like to set you as backup for trials on

24   November 7th, which I think would be a very reasonable -- there

25   would be a very reasonable possibility that it might go, but I
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1    don't know.    January 9th would be a second, again, backup date

2    because I have another matter set; and then I can assure you of

3    March 27th.

4               MR. POSNER:    This is Dan Posner.    Your Honor, that's a

5    little -- it jives quite well with what we have discussed.             We

6    had an opportunity to meet and confer; and given all the moving

7    parts, the date that I believe we were jointly prepared to

8    propose was March 20, 2023.       Given all the different trial

9    schedules and other conflicts that we have, that was the date

10   that worked for everyone involved.

11        For our side, and I think possibly for the DS side as

12   well, the November and January dates would not work because of

13   other prior trials.      In particular there is another Tesla trial

14   scheduled in January 2023 in the Northern District of

15   California.

16        So if everybody agrees still, the March date would work

17   very well for us.

18              THE COURT:    Okay.   Mr. Alexander or Mr. Organ?

19              MR. ALEXANDER:   Your Honor, with regard to the January

20   date, that would not because I have conflicts that would not

21   work.    We discussed that.

22        In a pinch it would be possible to follow your trial on

23   November 7th, but it still would be -- it still would not be

24   ideal.

25        But the January -- I'm sorry, the March 27th date would
        Case 3:17-cv-06748-WHO Document 362-2 Filed 11/18/22 Page 6 of 15         5


1    not be -- would -- I could work around that day.

2             THE COURT:    Okay.   Okay.    So let's -- why don't you --

3    let's set that as the date then.       That's fine with me.     So, it

4    will be March 27th.    We will probably need a get-together.           Why

5    don't we do that on February 27th at 2:00 p.m.?

6         Is there -- I guess two questions.       One, you have a

7    magistrate judge who is -- who has been assigned to this.          I

8    don't know whether there is any utility in your going back to

9    see him, but I will let you make that decision.

10        I have -- I figured -- I have learned that I can't make

11   any decisions in this case, so we will just -- we will just try

12   it again.

13        And -- but if -- if there is, you can -- you can contact

14   Judge Illman.   And is there anything else that -- that we need

15   to talk about, Mr. Alexander?

16            MR. ALEXANDER:     Your Honor, I think we are going to

17   have to talk about what parameters the Court is going to set on

18   the issues to be addressed in the -- in the retrial.

19        Plaintiffs' conception is that the universe is created by

20   what occurred in the first trial and that the burden to get

21   past that should be high for the Defense.

22        My understanding -- based on a communication we received

23   today, counsel attempted to have a phone call with us but I had

24   other matters I had to deal with and so I was not able to join,

25   but it is my understanding that the Defendant is going to
        Case 3:17-cv-06748-WHO Document 362-2 Filed 11/18/22 Page 7 of 15   6


1    propose to do a retrial of all the issues as opposed to just

2    the damages.

3         And so, perhaps -- perhaps it would be a good idea to find

4    out and have a hearing early on so the Court can determine what

5    the parameters are in terms of -- in terms of the damages

6    phase.

7         My understanding is the universe is created by the first

8    trial and that the same witnesses that have -- that were on the

9    witness list originally would be the witnesses that we -- that

10   we would pull from for purposes of the damages portion and

11   that -- and in that way the verdict from the new jury would be

12   tethered to the evidence that was the basis for making a

13   determination of liability by the original jury.

14        And to the extent that the Judge -- Your Honor, to the

15   extent that you have some other thought process, it would be

16   good for us to hear that.      And to the extent that Defendants

17   intend to proceed in some other way, I would like to -- we are

18   going to need the Court's, you know, guidance on that.

19            THE COURT:    So who -- Mr. Posner, are you the person

20   who is suggesting that we throw the doors wide open again?

21            MR. POSNER:    I might have suggested that but I will

22   defer to Ms. Sullivan to convince you that we are right.

23            THE COURT:    Okay.

24            MS. SULLIVAN:     Well, Your Honor, we don't mean to

25   suggest that the doors should be thrown wide open.
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1         We recognize that, Your Honor, has considerable discretion

2    to shape the contours of the retrial and that obviously Rule 16

3    allows you to amend the pretrial order if needed to correct an

4    injustice.

5         In digging into this, Your Honor, since the Plaintiffs'

6    election to reject the remittitur, we have to -- we feel

7    compelled to raise to the Court and we, as Mr. Alexander

8    mentioned, raised to the Plaintiffs, that the venerable

9    precedent of gasoline products may be something that we are

10   compelled to bring before the Court and, as Mr. Alexander

11   suggests, we may need to brief and argue before the Court

12   Gasoline Products versus Champlin Refining Company,

13   C-H-A-M-P-L-I-N, 283 U.S. 494, is that great old 1931 case that

14   involves the re-examination clause of the Seventh Amendment,

15   when does the Seventh Amendment permit or prohibit the

16   re-examination of a prior jury verdict.

17        And, of course, it is now well established and well

18   established in the Ninth Circuit that where there is a retrial

19   on damages but issues of liability are inextricably intertwined

20   with the damages case, such that there would be an injustice or

21   unfairness in allowing a second jury to be bound on liability

22   by the first jury when the second jury is reconsidering damages

23   but damages are inextricably intertwined with liability, that

24   that is an instance in which courts can and have in the Ninth

25   Circuit ordered a retrial of damages to include a retrial of
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1    liability issues.

2         And I would just cite to Your Honor as key Ninth Circuit

3    precedence -- and, of course, we would brief this fully before

4    Your Honor and Plaintiffs would have ample opportunity to

5    respond -- Hasbrouck versus Texaco, H-A-S-B-R-O-U-C-K, versus

6    Texaco, 663 F.2d 930.     That is Ninth Circuit 1981.      And

7    Pumphrey versus K.W. Thompson Tool, 62 F.2d 1128.         That is

8    P-U-M-P-H-R-E-Y.    That is Ninth Circuit 1995.

9         We, of course, would brief this fully to Your Honor and

10   give you all the pros and cons of this.

11        In a nutshell, Your Honor, this is not a patent case where

12   there is a finding of infringement and validity, and all you

13   are trying to decide on remand is lump sum or running royalty,

14   as the damages quantum.

15        This is not a case where there is a contract breach and

16   the issue is lost profit or compensatory damages.         It is an

17   issue where because it is a racially hostile environment case,

18   which turns on whether the conduct on the Tesla factory floor

19   was systemic or pervasive or more episodic and remediated

20   because that liability issue about hostile environment involves

21   a sort of quantitative analysis of how much racially salient

22   behavior was there.

23        And that's the same issue as the emotional distress

24   damages, which turn -- emotional distress here, again, there is

25   no economic case here; there is no medical bills; there is no
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1    lost wages.

2         This is a case about purely non-economic emotional

3    distress.   That's heavily calibrated to the degree of violation

4    on the factory floor, Your Honor.

5         So the compensatory damages are inextricably intertwined

6    with the liability issue because it is a hostile environment

7    case and it is non-economic damages.

8         And more pointedly, Your Honor, reprehensibility for

9    purposes -- we would submit the key issue for purposes of

10   punitive damages, reprehensibility is going to turn entirely on

11   the sort of quantity, the systemicity, the pervasiveness and

12   the remediation measures that Tesla undertook, which is the

13   same as the liability case.

14        And so, Your Honor, we came to this -- I want to say this

15   in all greatest respect.     We recognize that you and prior trial

16   counsel on both sides have already devoted a tremendous amount

17   of effort to the first trial; but if we try to imagine how you

18   would instruct the second jury to decide damages and tell the

19   second jury what the first jury decided, we see grave risk that

20   the instruction to the jury on what the jury in the first trial

21   decided would predetermine either the compensatory damages

22   issue or -- and/or the punitive damages issue in a way that

23   would deprive Tesla of the fair and just retrial of the damages

24   issue, and that's the gasoline products issue in a nutshell.

25        We did try to confer with Mr. Alexander, as he kindly
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1    noted a minute ago, and his schedule didn't permit him to

2    discuss it.

3         We obviously would need to brief this in detail so

4    Your Honor could consider it and consider the arguments on both

5    sides; but we wanted to make Your Honor aware of the issue

6    because the first time we really confronted it was when we

7    thought today about what would we need to do to amend the

8    pretrial order from the first trial or to contemplate how

9    Your Honor would instruct a second jury on what the first jury

10   found.

11        So, Your Honor, that's -- there are separate issues about

12   the scope of the retrial with respect to whether certain things

13   need to be updated, whether information about the Plaintiff's

14   employment and condition needs to be updated, the question of

15   whether anything about Tesla's remedial measures or valuation.

16        There may be some simple updating we need to do in

17   amending the prior pretrial order, but the big issue to our

18   mind is will Your Honor permit a retrial of liability issues

19   under the gasoline products line of cases.

20        Mr. Posner, is there anything you would add to that from

21   your -- from our prior discussions?

22            MR. POSNER:    No.   Thank you.    I think that's fine.

23   You know, it is a little bit of a separate issue as to whether

24   additional witnesses or documents or evidence would be

25   introduced for --
       Case 3:17-cv-06748-WHO Document 362-2 Filed 11/18/22 Page 12 of 15    11


1             THE COURT:    So let's talk about that issue.       I'm -- I

2    am highly unlikely to -- and I will welcome Mr. Rubin and

3    Ms. Nunley to the conference.

4         I'm highly unlikely, Ms. Sullivan, to agree with your --

5    with this argument.    I'm not going to foreclose -- prohibit you

6    from filing something because I haven't read the case that you

7    are talking about or the cases that follow it.

8         But the -- I think my order was quite clear about what was

9    going to be tried and what would not be tried in a second trial

10   if the Plaintiffs didn't accept the remittitur.

11        That's the basis on which I ruled.       That is the basis on

12   which they made their determination, and I think it is -- the

13   analysis that you were just describing also don't think really

14   is accurate because with respect to punitive damages, you will

15   be putting on that very case of, you know, how egregious was

16   the conduct.   So you will be doing that same thing.

17        I do think that there are issues about how a second trial

18   would go, and I think those are issues that you ought to work

19   through, the ones that Mr. Posner had just mentioned; and I

20   don't know what the Plaintiffs' perspective on that is, but I

21   think you ought to spend the next month talking about that,

22   figure that out.

23        Figure out what the -- what the instructions ought to look

24   like, if there is really a problem with the instructions as

25   Ms. Sullivan was laying out, talk through those issues.         And
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1    maybe what we do is we have a case management conference.

2         We have got a lot of time.      So why don't we have a case

3    management conference on October 4th, I guess, at 2:00 o'clock.

4         And in the case management statement I want you to lay out

5    your respective positions on how the case should be tried

6    assuming that I'm not going to agree that the whole kit and

7    caboodle get tried over again, which I just -- I know I'm not

8    going to do that, so I think you would be wasting your client's

9    money but that's your determination, not mine or its.

10        And so what are you trying, what are the -- what other

11   issues do you need to buff up before we get going with the

12   trial again on March 27th.

13            MR. POSNER:    That's very good, Your Honor, and that's

14   consistent with the discussions that we had last week with

15   Mr. Di-az's Counsel about meeting and conferring, trying to

16   resolve as many issues as we can and then presenting any

17   remaining disputes to the Court.

18            THE COURT:    All right.    So --

19            MS. SULLIVAN:    Excuse me, Your Honor, I'm so sorry.

20   Just to clarify, I heard you say earlier you were not

21   foreclosing the gasoline products argument, but a moment ago

22   you suggested that you were deciding not to grant it.         Should I

23   interpret that as --

24            THE COURT:    No, I --

25            MS. SULLIVAN:    -- we are free to brief it.       You think
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1    it is unlikely you'll grant it?

2             THE COURT:    You should consider it highly unlikely

3    that I would grant it, but I haven't read the cases and the --

4    you are a formidable advocate as is Mr. Rubin.

5         I'm just telling you that I think given the history of

6    this case and the basis on which the rulings and decisions have

7    been made in this case, I can't imagine doing it; but I haven't

8    read the cases, and maybe I will be compelled to the contrary.

9    I don't want to indicate that you can't do it.        You can but

10   hopefully I have been clear enough about -- about that issue.

11            MS. SULLIVAN:    Thank you, Your Honor.

12            THE COURT:    All right.    Is there anything, from the

13   Plaintiffs' perspective, else that we ought to address now?

14            MR. ALEXANDER:    I don't believe so, Your Honor.

15            THE COURT:    Okay.   All right.    Well, it's a -- it's a

16   pleasure to see you-all.     I will look forward to seeing you-all

17   again in October.   You have obviously real work to do to get

18   this case back in front of a jury, and I'm looking forward to

19   what comes next.    Thanks very much.

20            MR. ALEXANDER:    Thank you, Your Honor.

21            MR. POSNER:    Thank you.

22            MS. SULLIVAN:    Thank you, Your Honor.

23                 (Proceedings adjourned at 2:15 p.m.)

24                                  ---oOo---

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3                          CERTIFICATE OF REPORTER

4             I certify that the foregoing is a correct transcript

5    from the record of proceedings in the above-entitled matter.

6

7    DATE:   Monday, September 12, 2022

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11              _________________________________________

12             Marla F. Knox, CSR No. 14421, RPR, CRR, RMR
             United States District Court - Official Reporter
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